          Case 2:21-cv-00363-NR Document 24 Filed 09/27/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENN HILLS SCHOOL DISTRICT:
                                                :
                       Plaintiff,               :
                                                :
               v.                               :   Civil Action No. 2:21-cv-363
                                                :
                                                :
                                                :
S.B., a minor, and his parent,                  :
D.T.,                                           :
                                                :
               Defendants.                      :

             NOTICE OF ENTRY AND WITHDRAWAL OF APPEARANCE

TO:    CLERK OF COURT

       KINDLY enter my appearance as counsel on behalf of Plaintiff, the Penn Hill School

District in the above referenced matter and withdraw the appearance of Aimee R. Zundel, Esquire

as she is no longer associated with our firm.

                                                    Respectfully submitted,



                                                    By:
                                                           Annemarie Harr, Esquire
                                                           Pa. I.D. #320764

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